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                                    United States District Court
                                     Western District of Texas
                                         Austin Division

 United States of America,
    Plaintiff,

     v.                                                                   No. 1:23-CR-062-RP

 Genotox Laboratories Ltd.
    Defendant.

                                               Order
   Upon the motion of the United States and the defendant Genotox Laboratories Ltd.

(“Genotox”) and finding, in accordance with: (1) 18 U.S.C. § 3161(h)(7)(A) that the ends of

justice in granting the extension of the speedy trial deadline outweigh the best interests of the

public and the defendant in a speedy trial, and (2) 18 U.S.C. § 3161(h)(2) that prosecution has

been deferred by the attorney for the government pursuant to written agreement with the

defendant, with the approval of the court, for the purpose of allowing the defendant to

demonstrate its good conduct:

   It is hereby ORDERED that all further criminal proceedings in this matter, including trial, be

continued until October _____________________, 2024.

   It is further ORDERED that this Court approves the exclusion from the computation of time

in which a trial must be commenced under the Speedy Trial Act the period of delay between the

entry of this Order and any trial in this matter, should one occur, because the Court finds that the

written agreement signed by the United States and Genotox will allow the defendant to

demonstrate its good conduct.

   It is further ORDERED that this Court approves the waivers of indictment and arraignment

filed in this matter and finds that such waivers were made by Genotox knowingly, intelligently,

and voluntarily.


Signed:
                                                    United States District Judge
